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                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF ARKANSAS
                                        WESTERN DIVISION

    ZEST LABS, INC. f/k/a INTELLEFLEX                        §
    CORPORATION; and ECOARK                                  §
    HOLDINGS, INC.                                           §
                                                             §
                     Plaintiffs,                             §          Civil Action No. 4:18-cv-500-JM
                                                             §
    v.                                                       §
                                                             §             JURY TRIAL DEMANDED
    WALMART INC. f/k/a                                       §
    WAL-MART STORES, INC.                                    §
                                                             §
                     Defendant.

                PLAINTIFF ZEST LABS’ OPPOSITION TO
  DEFENDANT WALMART INC.’S MOTION FOR EXTENSION OF TIME TO FILE
   RESPONSES TO PLAINTIFFS’ COMPLAINT, MOTION FOR PRELIMINARY
INJUNCTION, AND MOTION FOR LEAVE TO CONDUCT EXPEDITED DISCOVERY

           Zest Labs1 opposes Defendant Walmart Inc.’s (“Walmart”) Motion for Extension of Time

(the “Motion”, Dkt. No. 27). The Motion, filed without contacting or conferring with counsel for

Zest Labs, not only seeks 30 more days to respond to Zest Labs’ Complaint and 14 more days to

respond to Zest Labs’ Motion for Expedited Discovery (Dkt. No. 20) (beyond the standard 14 days

provide by Local Rule 7.2(b)), but also asks the Court to completely suspend the briefing on Zest

Labs’ Motion for Preliminary Injunction (Dkt. No. 18). The Motion has less to do with extending

briefing deadlines for Walmart’s convenience than with delaying these urgent proceedings in their

entirety.       Moreover, as set forth below, Walmart’s current position is inconsistent and

disingenuous—just two months ago Walmart fought for and received expedited discovery and an

early preliminary injunction hearing in a case filed by Walmart involving claims for breach of a




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    As used herein, “Zest Labs” refers collectively to Plaintiffs Zest Labs, Inc. and Ecoark Holdings, Inc.
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      confidentiality agreement. What is good for Walmart the Plaintiff must be good for Walmart the

      Defendant.

 I.      INTRODUCTION

              The Motion should be denied for three reasons: (1) Walmart failed to comply with Local

      Rule 6.2, which requires the movant to contact and confer with the adverse party before seeking

      extensions of time; (2) Zest Labs’ requests for expedited discovery and a preliminary injunction

      warrant a briefing schedule that is, at minimum, consistent with the standard local rules; and (3)

      Walmart has not shown good cause for the extensive delays it is seeking and will suffer no

      prejudice in responding to Zest Labs’ motions on the customary briefing schedule—indeed

      Walmart’s Motion is already replete with arguments directed to the merits of Zest Labs’ motions.

II.      ANALYSIS

         A.        The Court Should Dismiss Walmart’s Motion for Failure to Comply with Local
                   Rule 6.2.

              Local Rule 6.2 requires that, “In every motion for a continuance, every motion for any

      extension of time, or for leave to do any act out of time, the motion shall state that the movant

      has contacted the adverse party (or parties) with regard to the motion, and also state whether the

      adverse party opposes or does not oppose same.” Local Rule 6.2(b) (emphasis added). Local Rule

      6.2 further states that if a movant fails to comply with the requirement, “the motion may be

      dismissed summarily for failure to comply with this rule. Repeated failures to comply will be

      considered an adequate basis for the imposition of sanctions.” Id. (emphasis added).




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         The Local Rule is clear—conference with the adverse party is not optional. And rightfully

so, as meet and confer requirements foster judicial efficiency.2

         Walmart has now failed to comply with Local Rule 6.2 two times in three business days:

(1) Walmart filed its August 13 motion for an extension (Dkt. No. 25) without first conferring with

counsel for Zest Labs, and (2) today Walmart filed the current Motion wholly unannounced. If

Walmart had merely complied with the rules, it would have learned from Zest Labs’ counsel the

limited scope of injunctive relief that Zest Labs seeks and how Walmart might be able to moot

certain issues now before the Court by simply agreeing to certain, limited injunctive relief, which

should not even be controversial. Had it chosen to confer before filing, Walmart also would have

had the opportunity to reach a compromise focusing on issues that need be resolved immediately

versus those for which a moderate extension may be warranted (e.g., answering the Complaint).

         Walmart chose instead to ignore the Local Rules in the hope of obtaining unreasonable

extensions that will delay the discovery and preliminary relief necessary to protect Zest Labs’ trade

secrets. The Motion should therefore be denied or dismissed under Local Rule 6.2. Walmart still

has five calendar days before its opposition briefs are due, which offers ample time to formulate a

response to Zest Labs’ motions. Walmart’s failure to follow the Local Rules should not be

rewarded with unwarranted deviation from a standard briefing schedule.




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  See, e.g., Icenhower v. Total Auto., Inc., No. CIV. 14-1499 ADM/TNL, 2014 WL 4055784, at *2 (D. Minn. Aug.
15, 2014) (“As a final note, the meet and confer requirement stated in Local Rule 7.1(a) is not a meaningless procedural
hurdle attorneys should simply check off their lists before filing a motion. As this case demonstrates, good faith
communications with opposing counsel can reduce or eliminate unnecessary motion practice.”); Harper v. City of
Dallas, Texas, No. 3:14-CV-2647-M, 2017 WL 3674830, at *13 (N.D. Tex. Aug. 25, 2017) (“The conference
requirements of the Federal Rules of Civil Procedure and the local rules of this Court serve the important function of
narrowing or eliminating issues before a party seeks judicial involvement.”); Leath v. Tracer Constr. Co., No. 1:08-
CV-358, 2009 WL 10676768, at *4 (E.D. Tex. Apr. 8, 2009) (emphasizing the importance of local rules that “impose
a ‘meet and confer’ requirement as part of motions practice”).
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   B.      Zest Labs’ Motions Warrant Prompt Consideration, and There Is No Basis to
           Depart from the Standard Briefing Schedule.

        This case involves claims of trade secret misappropriation, fraud, and breach of contract.

And while time is of the essence, the relief sought by Zest Labs’ motions is narrow, reasonable,

and tailored to the need of ensuring that Zest Labs’ trade secrets remain secret during the pendency

of this litigation. For example, the Motion for Expedited Discovery seeks limited discovery for

the purpose of determining the scope of Walmart’s misappropriation and disclosure of Zest Labs’

trade secrets to third parties. Similarly, the Motion for Preliminary Injunction is narrowly directed

to ensuring that Zest Labs’ trade secrets remain secret and are not disclosed to the public or Zest

Labs’ competitors while this case proceeds.           This narrow injunctive relief should be

noncontroversial; these are all things that Walmart should already be doing as part of sound

business practices. The fact that Walmart is seeking to indefinitely delay briefing on the motion

raises serious concerns about Walmart’s current conduct and business practices.              It also

emphasizes the importance of installing prompt and adequate protections over Zest Labs’

technology and confidential information. Walmart’s Motion is merely an attempt to delay briefing

on the motions and, ultimately, convening the preliminary injunction hearing.

        Walmart presents no adequate basis for seeking such a delay. The Eighth Circuit has

emphasized the importance of expeditiously setting hearings on preliminary injunction motions.

See Movie Sys., Inc. v. MAD Minneapolis Audio Distributors, a Div. of Smoliak & Sons, Inc., 717

F.2d 427, 432 (8th Cir. 1983) (“By its nature, an application for a preliminary injunction often

requires an expeditious hearing and decision.”) (quoting Wounded Knee Legal Defense/Offense

Committee v. Federal Bureau of Investigation, 507 F.2d 1281, 1286–87 (8th Cir. 1974)); see also

28 U.S.C. § 1657 (West) (“[E]ach court of the United States . . . shall expedite the consideration


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of . . . any action for temporary or preliminary injunctive relief.”). Instead of acknowledging this

reality, Walmart’s Motion discusses the date the Complaint was filed and the fact that Zest’s

Motion for Preliminary Injunction was filed just six days later. Walmart presents no harm that it

would suffer from having to respond to the Motions in the normal course. In fact, it presents no

suggestion that Plaintiff’s requested relief would cause any harm to Walmart.                               Walmart’s

arguments are also without merit.

         As the law requires, Zest Labs diligently researched the facts surrounding this case and

Walmart’s Eden system before filing this case. The Complaint expressly notes that Zest Labs

seeks injunctive relief (See Dkt. No. 1 at ¶¶ 98-106), and Zest Labs filed its Motion for Preliminary

Injunction within a week of filing the Complaint. Even the case law cited by Walmart in support

of its “delay” argument does not support Walmart’s argument because the case involves a

profoundly different timeline. See Motion at ¶ 10. In United States v. Arkansas, the Plaintiff did

not file a motion for preliminary injunction until seven years after its investigation began and

fourteen months after the complaint was filed. The delay was measured in months and years, not

six days,3 and does not support an extension in this case.

         Finally, Walmart’s argument that briefing should be delayed because Zest Labs has not

sought a temporary restraining order is both meritless and disingenuous. Walmart itself filed a

case in Delaware Chancery Court only two months ago that included a request for preliminary

injunction, but not a request for temporary restraining order. See Exhibit A, Delaware Court of




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  United States v. Arkansas, No. 4:09-CV-0033-JLH, 2010 WL 1408818, at *4 (E.D. Ark., Apr. 7, 2010) (denying
preliminary injunction, but noting that Plaintiff “has moved for a preliminary injunction more than seven years after
it started investigations; almost six years after issuing its findings on the investigations; almost fourteen months after
the complaint was initially filed; approximately six months after its experts completed weeks of onsite investigations
at the CHDC; and only six months in advance of a potentially month-long trial on the merits.”).
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Chancery Docket from Case No. 2018-0414. Of course, Walmart also filed a motion asking the

court to “enter [an] order expediting proceedings . . . and allowing Walmart to pursue preliminary

injunctive relief.” See Exhibit B, Walmart’s Motion for Expedited Proceedings, Case No. 2018-

0414 (Del. Ch. Ct. 2018), at 14. Walmart obtained a hearing on its Motion to Expedite Proceedings

within a week of filing the motion. Id. The specific requests that Walmart made therein (which

were promptly granted) are telling; Walmart obtained an order: (1) requiring the defendant to

answer 16 days after Walmart filed the its June 6, 2018 complaint; (2) allowing expedited

discovery to begin on June 25, 2018; and (3) setting a preliminary injunction hearing for August

30, 2018. See Exhibit C, June 14, 2018 Order. Walmart promptly served requests for production

and interrogatories on the defendant on June 26, 2018. See Exhibit A at 6.

        What is good for Walmart the Plaintiff must also be good for Walmart the Defendant. Just

as in its own cases, there is little reason here to delay a request for expedited discovery and for

preliminary injunctive relief.

   C.      Walmart Has Not Shown Good Cause and Will Suffer No Prejudice from
           Responding to the Motions in a Timely Manner.

        Walmart has not shown good cause pursuant to Federal Rule of Civil Procedure 6(b)(1) for

an extension of time and will suffer no prejudice from responding to Zest Labs’ motions in the

usual time frame. Indeed the substance of Walmart’s Motion belies its requested need for

additional time to respond to the merits of Zest Lab’s Motion for Expedited Discovery and Motion

for Preliminary Injunction—Walmart already propounds several pages of argument directed to the

merits underlying Zest Labs’ motions. The current deadline for Walmart’s responses is August

21, 2018, which provides Walmart ample time to respond to Zest Labs’ motions.




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       Moreover, Walmart’s assertion that Zest Labs has delayed in filing this case and its

preliminary injunction motion is both baseless on the merits and irrelevant to the issue of whether

Walmart should succeed in postponing briefing on the motion for preliminary injunction while

also delaying briefing on the motion for expedited discovery. The case does involve billions of

dollars as Walmart notes, but these facts are not complicated: Walmart has had access to the exact

substance of Zest Labs’ claims since service of the Complaint on August 1, 2018, and it has had

access to Zest Labs’ arguments related to the preliminary injunction since service of the pending

motions on August 7, 2018—ample time to determine its position before the upcoming briefing

deadlines. Simply put, Walmart is one of the largest corporations in the world and a sophisticated

litigant with extensive experience and resources. It prides itself on Walmart Legal’s efforts to

“forecast[] possible issues and work[] ahead of them to ensure the company’s readiness.” See

https://corporate.walmart.com/leadership/karen-roberts (last visited Aug. 16, 2018). Given the

parties’ history, Walmart could have easily “forecast[ed]” these legal issues and “work[ed] ahead

of them to ensure the company’s readiness.” It defies logic that Walmart now argues the

proceedings are going too quickly, while at the same time fighting a request to protect trade secrets.

       Finally, while Walmart would suffer no prejudice from responding to Zest Labs’ motions

according to the usual time frame, Zest Labs would suffer prejudice if the Court grants Walmart’s

motion. Every day that passes is another day that Zest Labs risks irreparable harm from disclosure

of its trade secrets. Zest Labs simply cannot afford to let the clock run indefinitely in litigating its

Motion for Preliminary Injunction—delays at this early stage will cause delays in later stages of

this litigation, ultimately harming Zest’s interests in guarding its proprietary information that was

taken from it by Walmart.



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              From the day Walmart has appeared in this case, it has done nothing other than seek to

       delay its responses to pending motions, necessary discovery, and ultimately the preliminary

       injunction hearing. Zest Labs requests that the court require Walmart to respond to the pending

       motions on the normal briefing schedule, allow Zest Labs the discovery it seeks over the next three

       weeks and set a hearing on the motion for preliminary injunction at the end of the abbreviated

       discovery period.

III.      CONCLUSION

              There is no justification for Walmart’s repeated failure to comply with Local Rule 6.2, nor

       for its requested extensions and the requested stay of briefing on the Motion for Preliminary

       Injunction. Walmart’s Motion should be dismissed for failure to comply with Local Rule 6.2

       and/or otherwise denied given the unwarranted nature of the extensions that Walmart seeks.



              Dated: August 16, 2018                Respectfully submitted,


                                                    By: /s/ Michael Simons
                                                    Fred I. Williams (pro hac vice)
                                                    Texas State Bar No. 00794855
                                                    Michael Simons (pro hac vice)
                                                    Texas State Bar No. 24008042
                                                    Jonathan L. Hardt (pro hac vice)
                                                    Texas State Bar No. 24039906
                                                    VINSON & ELKINS LLP
                                                    2801 Via Fortuna, Suite 100
                                                    Austin, TX 78746-7568
                                                    512.542.8400 telephone
                                                    512.542.8610 facsimile
                                                    fwilliams@velaw.com
                                                    msimons@velaw.com
                                                    jhardt@velaw.com

                                                    Todd E. Landis (pro hac vice)
                                                    Texas State Bar No. 24030226
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                           VINSON & ELKINS LLP
                           2001 Ross Avenue, Suite 3700
                           Dallas, TX 75201
                           214.220.7700 telephone
                           214.220.7716 facsimile
                           tlandis@velaw.com

                           Clifford Thau (pro hac vice)
                           New York State Bar No. 1786102
                           VINSON & ELKINS LLP
                           666 Fifth Avenue, 26th Floor
                           New York, NY 10103
                           212.237.0000 telephone
                           212.237.0100 facsimile
                           cthau@velaw.com

                           Dustin B. McDaniel, Bar # 99011
                           Scott Richardson, Bar # 2001208
                           Bart Calhoun, Bar # 2011221
                           McDaniel, Richardson, & Calhoun PLLC
                           1020 West 4th St., Suite 410
                           Little Rock, AR 72201
                           501.235.8336
                           501.588.2104 fax
                           dmcdaniel@mrcfirm.com
                           scott@mrcfirm.com
                           bcalhoun@mrcfirm.com

                           Ross David Carmel, Esq. (pro hac vice)
                           New York State Bar No. 4686580
                           CARMEL, MILAZZO & DiCHIARA LLP
                           55 West 39th Street, 18th Floor
                           New York, New York 10018
                           (212) 658-0458 telephone
                           (646) 838-1314 facsimile
                           rcarmel@cmdllp.com

                           Attorneys for Plaintiffs Zest Labs, Inc. f/k/a
                           Intelleflex Corporation, and Ecoark Holdings, Inc.




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                               CERTIFICATE OF SERVICE

       I hereby certify that on August 16, 2018, the foregoing document was served on all
counsel of record, using the Court’s CM/ECF system, pursuant to the Federal Rules of Civil
Procedure.


                                               /s/ Michael Simons
                                               Michael Simons




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